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1     AMY J. LONGO (Cal. Bar No. 198304)
      Email: longoa@sec.gov
2     LYNN M. DEAN (Cal. Bar No. (Cal. Bar No. 205562)
      Email: deanl@sec.gov
3     CHRISTOPHER A. NOWLIN (Cal. Bar No. 268030)
      Email: nowlinc@sec.gov
4
      Attorneys for Plaintiff
5     Securities and Exchange Commission
      Michele Wein Layne, Regional Director
6     Alka N. Patel, Associate Regional Director
      Amy J. Longo, Regional Trial Counsel
7     444 S. Flower Street, Suite 900
      Los Angeles, California 90071
8     Telephone: (323) 965-3998
      Facsimile: (213) 443-1904
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12                          UNITED STATES DISTRICT COURT
13                        CENTRAL DISTRICT OF CALIFORNIA
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16    SECURITIES AND EXCHANGE                      Case No. 2:19-cv-2188
17    COMMISSION,
                                                   STIPULATION REQUESTING
18                 Plaintiff,                      PRELIMINARY INJUNCTION
                                                   ORDER AND ORDER APPOINTING
19           vs.                                   PERMANENT RECEIVER
20    DIRECT LENDING INVESTMENTS,
21    LLC,

22                 Defendant.

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1            Plaintiff Securities and Exchange Commission (“Plaintiff”), by and through its
2     undersigned counsel, and Defendant Direct Lending Investments, LLC (“DLI”), by
3     and through its undersigned counsel, hereby stipulate and agree as follows:
4            WHEREAS, on March 22, 2019, Plaintiff filed an action captioned SEC v.
5     Direct Lending Investments, LLC, alleging that defendant DLI violated the federal
6     securities laws;
7            WHEREAS, DLI waives service of the summons and the complaint in this
8     action, enters a general appearance, and admits the Court’s jurisdiction over it and
9     over the subject matter of this action;
10           WHEREAS, on February 11, 2019, DLI sent a letter to its private fund
11    investors informing them that one of its largest counterparties had ceased making
12    payments; that DLI believed there may be misconduct at issue; and that the loan
13    balance may not be recoverable;
14           WHEREAS, on March 19, 2019, DLI sent a letter to private fund investors
15    informing them that certain valuations of its funds’ investments in a second lending
16    platform may have been materially overstated; that the former CEO of DLI, Brendan
17    Ross, had, on March 18, 2019, resigned all of his positions effective immediately;
18    that DLI’s management committee had assumed operation of DLI’s and the private
19    funds’ operations and affairs; and that DLI had self-reported to the SEC and is
20    cooperating in the SEC’s investigation;
21           WHEREAS, in March 2019, DLI self-reported certain information to the SEC,
22    including the same information in the March 19, 2019 DLI letter to investors;
23           WHEREAS, Brendan Ross continues to have a 100% ownership interest in
24    DLI;
25           WHEREAS, without admitting to any violations of federal law alleged in the
26    SEC’s complaint, DLI agrees that the SEC is able to make the requisite showing in
27    order to obtain a preliminary injunction and the appointment of a receiver and that
28    good cause exists for the preliminary injunction and the appointment of a receiver;

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1            WHEREAS, the SEC and DLI seek appointment of a receiver over DLI and
2     certain affiliated entities for the purpose of facilitating an efficient, fair and cost-
3     effective marshaling and preserving of the assets of DLI and the affiliated entities and
4     funds, subject to Court approval;
5            WHEREAS, pursuant to the concurrently filed SEC’s Receiver
6     Recommendation, the SEC recommends for the Court’s consideration, and DLI
7     agrees with the SEC’s recommendation, Bradley S. Sharp of Development
8     Specialists, Inc., as permanent receiver, based on Mr. Sharp’s proposal for services,
9     attached as Exhibit 1 to the SEC’s Receiver Recommendation;
10           WHEREAS, DLI hereby consents and agrees to a preliminary injunction
11    prohibiting future violations of Section 17(a) of the Securities Act of 1933
12    (“Securities Act”) [15 U.S.C. § 77q(a)], Section 10(b) of the Securities Exchange Act
13    of 1934 (“Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17
14    C.F.R. § 240.10b-5], and Sections 206(1), 206(2), and 207 of the Advisers Act of
15    1940 (“Advisers Act”) [15 U.S.C. §§ 80b-6(1), 80b-6(2), 80b-7]; and
16           WHEREAS, the parties jointly request a status conference concerning the
17    receivership,1 to be scheduled at the Court’s convenience following the appointment
18    of the receiver.
19           NOW, THEREFORE, the SEC and DLI hereby stipulate and agree as follows:
20           1. DLI consents and agrees to the entry of a preliminary injunction against
21              future violations of Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)],
22              Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5
23              thereunder [17 C.F.R. § 240.10b-5], and Sections 206(1), 206(2), and 207
24              of the Advisers Act [15 U.S.C. §§ 80b-6(1), 80b-6(2), 80b-7], as set forth in
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        The SEC and DLI have each been contacted by certain of DLI’s investors regarding
28    the potential receivership. Some investors have indicated that they may seek to be
      heard as to the proposed receivership.
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1             the Proposed Preliminary Injunction Order and Order Appointing
2             Permanent Receiver concurrently lodged herewith;
3          2. The SEC and DLI request the appointment of a permanent receiver over
4             DLI in order to fairly and effectively marshal and preserve the assets of DLI
5             and to ensure an orderly distribution of any assets, as set forth in the
6             Proposed Preliminary Injunction Order and Order Appointing Permanent
7             Receiver concurrently lodged herewith;
8          3. The SEC and DLI therefore request that the Court enter the Proposed
9             Preliminary Injunction Order and Order Appointing Permanent Receiver
10            concurrently lodged herewith; and
11         4. The SEC and DLI jointly request a status conference concerning the
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1               receivership, to be scheduled at the Court’s convenience following the
2               appointment of the receiver.
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4           IT IS SO STIPULATED.
5
      DATED: _March 22, 2019                       AMY JANE LONGO
6                                                  LYNN M. DEAN
                                                   CHRISTOPHER A. NOWLIN
7                                                  SECURITIES AND EXCHANGE
                                                   COMMISSION
8
9
                                                   By: /s/Amy Jane Longo ____________
10                                                     AMY JANE LONGO
11                                                 Attorneys for Plaintiff
                                                   SECURITIES AND EXCHANGE
12                                                 COMMISSION
13
      DATED: March 22, 2019                        NICOLAS MORGAN
14                                                 PAUL HASTINGS LLP
15
16                                                 By: /s/ Nicolas Morgan
                                                       NICOLAS MORGAN
17
                                                   Attorneys for Defendant
18                                                 DLI
19
            I, Amy Jane Longo, hereby attest that all other signatories listed, and on whose
20
      behalf this stipulation is submitted, concur in the content of the stipulation and have
21
      authorized its filing.
22
            /s/Amy Jane Longo
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            AMY JANE LONGO
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